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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


HU CHUN LIANG,                                :               CIVIL ACTION NO.:
                                              :
               Plaintiff,                     :               3:22-cv-541-JCH
                                              :
v.                                            :
                                              :
DANIEL BARA, HEPHAESTUS                       :
FOUNDATION AG, OLYMPUS DAO,                   :
and JOHN DOE DEFENDANTS 1-5,                  :
                                              :
               Defendants.                    :               July 27, 2022
                                              :

                     NOTICE OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff, through his undersigned counsel, hereby gives notice that the above-captioned

action is dismissed, without prejudice, against all Defendants, pursuant to Rule 4l(a) of the Federal

Rules of Civil Procedure. Plaintiff intends to pursue his claims against the Defendants in the

Connecticut Superior Court.


                                                      Respectfully submitted,


                                                      THE PLAINTIFF,

                                              By:    /s/ Joseph B. Evans
                                                      Joseph B. Evans (pro hac vice)
                                                      MCDERMOTT WILL & EMERY LLP
                                                      1 Vanderbilt Avenue
                                                      New York, NY 10017
                                                      (212) 547-5400
                                                      jbevans@mwe.com
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                                  Aaron J. Brogan (pro hac vice)
                                  Jennifer Levengood (pro hac vice)
                                  MCDERMOTT WILL & EMERY LLP
                                  1 Vanderbilt Avenue
                                  New York, NY 10017
                                  (212) 547-5400
                                  jbevans@mwe.com
                                  abrogan@mwe.com
                                  jlevengood@mwe.com

                                  Ethen Levin-Epstein
                                  GARRISON, LEVIN-EPSTEIN,
                                          FITZGERALD & PIRROTTI, P.C.
                                  405 Orange Street
                                  New Haven, CT 06511
                                  Tel.: (203) 777-4425 | Fax: (203) 776-3965
                                  elevin-epstein@garrisonlaw.com

                                  Attorneys for the Plaintiff Hu Chun Liang




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                                      CERTIFICATION
       I HEREBY CERTIFY that on this 27th day of July, 2022, a copy of the foregoing Notice
of Dismissal Without Prejudice was filed electronically. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system. Parties may access this
filing through the Court’s system.

                                                    /s/     Joseph B. Evans
                                                           Joseph B. Evans




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